       Case 4:16-cr-00139-DPM        Document 37      Filed 07/06/16     Page 1 of 1




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

VS.                             NO. 4:16-CR-139-1-DPM

KONGKEOMANY PHIMMACHACK                                                     DEFENDANT

                                         ORDER

       Following the presentation of evidence at a detention hearing on June 23, 2016,

Defendant Kongkeomany Phimmachack was released from custody and placed on pretrial

conditions, including inpatient drug treatment followed by a chemical-free living

program.

       The Order Setting Conditions of Release (Docket entry #34) is hereby amended to

include the condition that, after his completion of inpatient drug treatment, Mr.

Phimmachack must participate in a chemical-free living program until resolution of his

case. All other conditions remain in full force and effect.

       IT IS SO ORDERED this 6th day of July, 2016.



                                          UNITED STATES MAGISTRATE JUDGE
